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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

 TEXAS INDUSTRIES INC,                              §
                                                    §
                                     Plaintiff,     §
                                                    §
 v.                                                 §   Civil Action No. 3:17-CV-3345-D
                                                    §
 OLD REPUBLIC INSURANCE                             §
 COMPANY,                                           §
                                                    §
                                   Defendant.       §


                                              ORDER


         The parties have advised the court that they have settled this case. Accordingly, this case

is administratively closed for statistical purposes without prejudice to its being reopened to enter

a judgment or order of dismissal or for further proceedings if the settlement is not consummated.


         SO ORDERED.

         February 28, 2018.



                                                  _________________________________
                                                  SIDNEY A. FITZWATER
                                                  UNITED STATES DISTRICT JUDGE
